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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


   ALEJANDRO MENOCAL,
   MARCOS BRAMBILA,                                    Civil No. 1:14-cv-02887-JLK
   GRISEL XAHUENTITLA,
   HUGO HERNANDEZ,
   LOURDES ARGUETA,
   JESUS GAYTAN,
   OLGA ALEXAKLINA,
   DAGOBERTO VIZGUERRA, and
   DEMETRIO VALERGA
   on their own behalf and on behalf of all others
   similarly situated,
                              Plaintiffs,

            v.

   THE GEO GROUP, INC.,

                                 Defendant.


  DECLARATION OF ANDREW H. TURNER IN SUPPORT OF PLAINTIFFS’
              REPLY RE MOTION FOR JURY VIEW

       I, Andrew Turner, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury

as follows:

       1.        I am an attorney with the Kelman Buescher Firm, P.C., which, together

with Towards Justice, the Law Office of R. Andrew Free, Milstein Law Office, Outten &

Golden LLP, and Meyer Law Office, P.C., are Class Counsel in this action. I am an

attorney in good standing admitted to practice before this Court.

       2.        I have been one of the lawyers primarily responsible for the prosecution of

Plaintiffs’ and the Class’s claims in this case.

       3.        I make the statements in this Declaration based on my personal knowledge
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and would so testify if called as a witness at trial.

       4.     Attached hereto as Exhibit A is a true and correct copy of Plaintiff

Alejandro Menocal’s Second Supplemental Responses to Defendant the GEO Group,

Inc.’s Sixth Set of Interrogatories, dated August 18, 2020.

       5.     GEO has raised no deficiency concerning the response to Interrogatory

Number 51 in Exhibit A.

       6.     Attached hereto as Exhibit B is a true and correct excerpt from the

transcript of the Deposition of Plaintiff Grisel Xahuentitla.

       7.      Attached hereto as Exhibit C is a true and correct excerpt from the

transcript of the Deposition of Plaintiff Jesus Gaytan.

       8.     Attached hereto as Exhibit D is a true and correct excerpt from the

transcript of the Deposition of Plaintiff Demetrio Valerga.

       9.     Attached hereto as Exhibit E is a true and correct excerpt from the

transcript of the Deposition of Absent Class Member Alejandro Hernandez Torres.

       10.    Attached hereto as Exhibit F is the Declaration of Martin M. Rosenbluth,

Esq.


       11.    Before filing this motion, as described in the declaration of Michael J.

Scimone in support of this motion, ECF No. 302, Class Counsel conferred with ICE to

determine whether it took a position on the motion.

       12.    By email dated August 7, 2020, Anne Rose, and attorney for ICE, described

ICE’s background check procedure. Ms. Rose explained that ICE requires a valid


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government ID (or valid immigration document for a foreign national) 72 hours in

advance of the visit in order to run a criminal history check.

       13.      Ms. Rose informed Class Counsel that ICE’s Enforcement & Removal

Operations makes decisions about entry based on the results of those checks, and that it

“typically” denies entry to (a) individuals with felony convictions and/or arrests or

charges at any time, and (b) individuals with certain misdemeanor convictions within the

last 5 years.

       14.      These criteria overlap with the criteria in the Jury Selection and Service

Act, 28 U.S.C. § 1865(b). The only ways in which ERO’s typical exclusion practices are

more stringent are that ERO sometimes chooses to exclude people with felony arrests or

charges (not convictions) that have since been resolved; people with felony convictions

whose civil rights have been restored; and people with recent misdemeanor convictions.

       15.      ERO has chosen not to enforce some of these criteria. Attached to this

declaration as Exhibit F is a true and correct copy of the declaration of Martin M.

Rosenbluth, and immigration attorney, describing an example of ERO’s exercise of

discretion.

       16.      I declare under penalty of perjury that the foregoing is true and correct.




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 Executed on: September 11, 2020.           Respectfully submitted,

                                            By: /s/ Andrew Turner
                                            Andrew Turner
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                                            Denver, CO 80203
                                            (303) 333-7751
                                            aturner@laborlawdenver.com


                                            Class Counsel




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                             CERTIFICATE OF SERVICE


       I hereby certify that on September 11, 2020, a copy of the foregoing document

was filed electronically. Service of this filing will be made on all ECF-registered counsel

by operation of the court’s electronic filing system. Parties may access this filing through

the Court’s system.




                                          /s/ Andrew H. Turner
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